                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

CRISTOBAL HERNANDEZ, Jr.,                       No. 23-16129

                Plaintiff-Appellant,            D.C. No. 2:11-cv-01945-JAT

 v.
                                                MEMORANDUM*
JANICE K. BREWER, Governor of the State
of Arizona, in her official capacity; et al.,

                Defendants-Appellees.

                   Appeal from the United States District Court
                            for the District of Arizona
                   James A. Teilborg, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Cristobal Hernandez, Jr., appeals pro se from the district court’s order

denying his motion requesting leave to file a motion for reconsideration in his

action alleging various federal and state law claims. We have jurisdiction under 28



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
U.S.C. § 1291. We review for an abuse of discretion the application of a prefiling

review order. In re Fillbach, 223 F.3d 1089, 1090-91 (9th Cir. 2000). We affirm.

       The district court did not abuse its discretion by denying Hernandez’s

motion requesting leave to file a motion for reconsideration because the filing was

within the scope of the district court’s prefiling review order and Hernandez failed

to demonstrate grounds for reconsideration. See D. Ariz. L.R. Civ. 7.2(g)(1)

(setting forth grounds for reconsideration).

       A prior panel of this court affirmed the district court’s underlying judgment

entered on September 10, 2013, and we will not reconsider that decision. See

Hernandez v. Brewer, 658 F. App’x 837 (9th Cir. 2016); see also S. Or. Barter

Fair v. Jackson County, 372 F.3d 1128, 1136 (9th Cir. 2004) (“The law of the case

doctrine . . . precludes a court from reexamining an issue previously decided by the

same court . . . .”).

       To the extent that Hernandez attempts to appeal post-judgment orders

entered by the district court prior to July 22, 2023, we lack jurisdiction because

Hernandez failed to file a timely notice of appeal. See Fed. R. App. P. 4(a)(1)(A)

(notice of appeal must be filed within 30 days); United States v. Sadler, 480 F.3d

932, 937 (9th Cir. 2007) (requirement of timely notice of appeal is jurisdictional).

                                          2                                     23-16129
      We do not consider arguments and allegations raised for the first time on

appeal. See Padgett v. Wright, 587 F.3d 983, 985 n.2 (9th Cir. 2009).

      Defendants County of Pinal, Walsh, Pinal County Board of Supervisors,

Babeu, Gygax, Rimmer, and Barry’s request for appellate attorney’s fees, set forth

in their answering brief, is denied without prejudice. See Fed. R. App. P. 38

(requiring a separate motion for fees and costs); Winterrowd v. Am. Gen. Annuity

Ins. Co., 556 F.3d 815, 828 (9th Cir. 2009) (a request made in an appellate brief

does not satisfy Rule 38).

      All other pending motions and requests are denied.

      AFFIRMED.




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